      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 1 of 31




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


SECURITIES AND EXCHANGE COMMISSION,
                       Applicant,
                                         No. 1:23-mc-00002-APM,
    v.
                                         Hon. Amit P. Mehta

COVINGTON & BURLING LLP,
                      Respondent.


                 BRIEF OF 83 LAW FIRMS AS AMICI CURIAE
                 SUPPORTING COVINGTON & BURLING LLP
            Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 2 of 31




                                                    TABLE OF CONTENTS

TABLE OF CONTENTS................................................................................................................ i

TABLE OF AUTHORITIES ......................................................................................................... ii

INTERESTS OF AMICI CURIAE ................................................................................................ 1

INTRODUCTION ......................................................................................................................... 2

ARGUMENT ................................................................................................................................. 2

I.        Time-Honored Principles Of Attorney-Client Confidentiality Shield Client
          Identities ............................................................................................................................. 2

II.       The SEC Claims Broad Entitlement To Client Confidences Based On Minimal
          Justifications ...................................................................................................................... 6

III.      Compelling Disclosure Of Client Identities Punishes Innocent Clients, Burdens
          Attorneys, And Undermines Cooperation With Law Enforcement ................................... 9

CONCLUSION ............................................................................................................................ 13

Appendix: List of Amici Curiae ................................................................................................ A-1




                                                                         i
            Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 3 of 31




                                                  TABLE OF AUTHORITIES

                                                                                                                                       Page(s)

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                                                                        ii
            Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 4 of 31




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                                                                     iii
           Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 5 of 31




                                INTERESTS OF AMICI CURIAE1

       Amici include major U.S. law firms with a significant presence nationally and in the

District of Columbia, and therefore have a strong interest in protecting attorney-client

confidentiality and providing effective legal representation to a wide variety of clients throughout

the American legal system.2 Collectively, the undersigned 83 amici firms have more than 50,000

attorneys, offices in nearly every state, and represent many public companies regulated by the

SEC, as well as other businesses, individuals, non-profits, and governments in civil litigation,

criminal defense, internal investigations, administrative compliance, complex transactions, and

myriad other highly sensitive matters. Across their various fields of practice, amici’s attorneys

and their clients depend on attorney-client confidentiality to maintain the kind of trusted

relationships that courts have long recognized as essential to effective advocacy and the

administration of justice. Amici are deeply troubled by the SEC’s demand for confidential client

information in this case, and the obvious broader implications of its legal arguments. Amici thus

submit this brief to highlight the compelling reasons that support ruling in Respondent’s favor.




       1
          The Court’s January 24, 2023 order stated that the Court “will accept amicus curiae briefs
without an accompanying motion to file.” No counsel for a party authored this brief in whole or
in part, and no party or counsel for a party made a monetary contribution intended to fund the
preparation or submission of the brief. No person other than amici curiae or their counsel made a
monetary contribution to the preparation or submission of this brief.
       2
           The list of amici curiae law firms is located in the appendix at the end of this brief.


                                                    1
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 6 of 31




                                        INTRODUCTION

       The Securities and Exchange Commission (“SEC” or “Commission”) seeks to breach one

of the oldest and most inviolate principles in American law. It does so while offering only vague

speculation as to why it needs the privileged or confidential client information it has demanded.

Indeed, the SEC’s argument is that the government’s mere curiosity, without indication of

wrongdoing, entitles an administrative agency to demand the names of a law firm’s clients and

related information that a firm may possess. Not only would the SEC breach well-established

principles of confidentiality in the service of this fishing expedition, it would turn attorneys into

witnesses against their own clients, while offering no guarantees that it will not disseminate the

information to other parts of the government, the press, and the public. This violation of

confidentiality is especially troubling given that it re-victimizes the targets of a foreign nation’s

cyberattack—an increasingly common feature of modern life that even the most diligent

businesses and governments cannot prevent.

       As Respondent correctly explains, the SEC’s subpoena cannot be reconciled with a

lawyer’s ethical obligations and the law. Attorneys have an ethical duty not to disclose confidential

client information—including the identity of a client seeking legal advice—absent client consent

or a well-established exception to client privilege, confidentiality, or an attorney’s fiduciary and

ethical obligations. Without consent or an exception, any attorney or law firm would be obligated

to resist disclosure in circumstances like those here. Amici write to emphasize the danger of

enforcing a subpoena like the one at issue here, and urge the Court to deny the SEC’s application.

                                          ARGUMENT

I.     Time-Honored Principles Of Attorney-Client Confidentiality Shield Client Identities

       Since the Founding, American courts have protected the “necessity” of effective legal

representation “free from the consequences or the apprehension of disclosure.” Hunt v. Blackburn,


                                                 2
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 7 of 31




128 U.S. 464, 470 (1888); Paul R. Rice et al., 1 Attorney-Client Privilege in the United States

§§ 1:3, 1.12 n.2 (2021) (collecting early American cases). Attorneys cannot provide effective legal

advice without the ability to assure clients that their secrets and confidences will be strictly

maintained. As courts have long recognized, such protections are “rooted in the imperative need

for confidence and trust” between lawyers and clients, and “rest[] on the need for the advocate and

counselor to know all that relates to the client’s reasons for seeking representation.” Trammel v.

United States, 445 U.S. 40, 51 (1980).

       One aspect of attorney-client confidentiality is an attorney’s ethical obligation not to reveal

the identities of their clients. See D.C. Bar. Op. No. 124, at 207. Absent certain narrow and well-

defined exceptions, attorneys may not “(1) reveal a confidence or secret of the lawyer’s client; (2)

use a confidence or secret of the lawyer’s client to the disadvantage of the client; [or] (3) use a

confidence or secret of the lawyer’s client for the advantage of the lawyer or of a third person.”

D.C. Rules of Professional Conduct, Rule 1.6(a). The D.C. Bar has made clear that a client’s

identity is a “confidence” or “secret” subject to protection, and that attorneys are strictly obligated

to resist disclosure of such information absent client consent. See D.C. Bar. Op. No. 124, at 207.

An administrative subpoena does not overcome that obligation. Covington Br. at 15-19. And

while not always within formal attorney-client privilege, client identities are privileged “when

sufficiently intertwined with the client’s confidences.” Covington Br. at 19-20. At a minimum,

law firms have a strong privacy interest in client identities that cannot be overborne absent a

substantial showing by the government. Covington Br. at 20-41.

       Compelling reasons justify these rules: the mere fact that a person or organization has

sought legal counsel is highly sensitive. In amici’s experience, clients often choose not to disclose

that they have engaged attorneys because disclosure of the retention of counsel has the potential




                                                  3
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 8 of 31




to cause a broad range of adverse consequences—revealing business plans, causing public

embarrassment, triggering investigations, or prompting litigation.            Consider the following

scenarios:

                A company is unsure whether its recent international business deal violated U.S.

                 sanctions law and hires a law firm with a reputation for defending high profile

                 sanctions cases. The law firm then suffers a cyberattack, and the government

                 compels it to disclose the fact of the representation. Learning of the representation,

                 the Treasury Department starts investigating the client for sanctions violations, the

                 investigation is widely reported in the press, and the client loses key partnerships

                 and customers in the fallout.

                A well-known plaintiffs’-side IP litigation firm is confidentially retained by a client

                 that is considering suing a patent infringer. The firm suffers a cybersecurity breach,

                 the identity of its client is disclosed to the SEC and becomes publicly known, and

                 the infringer infers that it is the target. The infringer then races to court in its

                 preferred venue and file suit first, leaving the client at a strategic disadvantage.

In either of these circumstances, compelled disclosure of the mere fact of representation can inflict

serious and lasting harms on clients. And these are not fanciful hypotheticals. Attempts to compel

disclosure of client identities are fiercely litigated. See Covington Br. 17-19.

       Safeguarding client confidences protects not just the clients themselves, but the very

institution of legal representation. If attorneys could be compelled to reveal client identities

without their consent, clients would be less likely to seek legal counsel in the first place. As the

D.C. Circuit has explained, clients are less likely to be “forthright if their lawyers could be turned

into witnesses against them or if they could be forced to disclose their conversations with their




                                                    4
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 9 of 31




lawyers.” In re Sealed Case, 107 F.3d 46, 49 (D.C. Cir. 1997). Under such a threat, clients seeking

legal counsel may limit what they disclose to their attorneys—making their own judgments based

on what they do not want to risk being exposed. Protecting attorney-client confidentiality thus

“promote[s] broader public interests in the observance of law and administration of justice” by

“encourag[ing] full and frank communication between attorneys and their clients.” Upjohn Co. v.

United States, 449 U.S. 383, 389 (1981).

       At the same time, fear of compelled disclosure can deprive many individuals and

businesses of knowledgeable legal advice, leaving them to resolve disputes, draft complex

agreements, or comply with arcane laws on their own. Such an outcome would be completely out

of step with American legal traditions and the basic tenets of our adversarial system. See Hunt,

128 U.S. at 470. An attorney’s ethical duty not to disclose client identities thus not only promotes

“full and frank communication,” Upjohn, 449 U.S. at 389, but is essential to maintaining the

institution of meaningful legal representation.

       Nor should it be ignored that the SEC’s demand here ultimately goes beyond the mere

identity of clients but necessarily extends to part of the substance of attorney-client

communications. The Commission’s subpoena sought privileged client communications. But

even just the disclosure of which clients were contacted about the data breach necessarily discloses

the substance of what Covington communicated to those clients—that is, that the clients’ data was

compromised. And because the government already has extensive knowledge about the Hafnium

attack, SEC Memo 2, it would be able to make further inferences about Covington’s clients and

their potential legal exposures if it obtained the contested information. That is to say nothing of

the damage from public disclosure—as the SEC’s own subpoena makes clear, the agency shares

the information it gathers with numerous other entities, governmental and otherwise, as well as




                                                  5
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 10 of 31




“members of Congress, the press, and the public.” Dkt. 1-2 at 33-34. In all these ways, the SEC

seeks to transform Respondent into a witness against its own clients, using the fact of the

communication to interrogate whether the law firm’s clients may have violated securities laws.

II.    The SEC Claims Broad Entitlement To Client Confidences Based On Minimal
       Justifications

       The SEC would turn these time-honored principles on their head in service of a fishing

expedition.   Without evidence that any of Respondent’s clients broke securities laws, the

Commission seeks to compel Respondent to reveal the identities of 298 publicly traded clients.

SEC Memo 8-9. And its true aim goes even further: the Commission’s subpoena shows that it

seeks not just client names but their material non-public information as well, contained in strictly

privileged attorney-client communications. Amici are deeply troubled by the scope of this

demand.

       While the Commission’s application to this Court now seeks only the names of

Respondent’s clients, SEC Memo 5, neither the agency’s investigative rationale nor its legal

arguments are so limited. The SEC says it wants to know “whether the Hafnium threat actors

viewed or exfiltrated [material non-public information] related to any of Covington’s public

company clients and, if so, for which clients.” SEC Memo 8. But there is no indication that names

alone will satisfy the SEC. And amici are concerned that the SEC ultimately seeks to discover

whether Respondent had material non-public information and what the information was. Indeed,

the SEC’s initial subpoena requested client documents and “[a]ny [co]mmunications provided to

the client” relating to the breach. Dkt. 1-2 at 17-18. That request is on hold pending this litigation,

but the Commission offers no assurances it will not demand that information again in the future.

And, under the Commission’s sweeping legal theory, such a demand could not be refused.




                                                  6
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 11 of 31




       The SEC acknowledges that privilege law and ethics rules protect client confidences, SEC

Memo 12-14, but nonetheless claims broad entitlement to Respondent’s client information because

it meets the minimal requirements for enforcing an administrative subpoena. SEC Memo 6-7. In

so doing, the Commission ignores that attorney-client privilege applies even in the face of an

administrative subpoena. See, e.g., Fed. Trade Comm’n v. Boehringer Ingelheim Pharms., Inc.,

892 F.3d 1264, 1269 (D.C. Cir. 2018). And it requires a well-established and recognized

exception—such as the crime-fraud rule—to overcome the privilege. See In re Sealed Case, 107

F.3d at 49. The SEC’s legal theory would seemingly apply to administrative subpoenas in any

kind of investigation by any agency. Every time a law firm faces a cyberattack, the Environmental

Protection Agency could subpoena client names to try to ferret out polluters, or the Office of

Foreign Assets Control could trawl client names for leads on sanctions violations. Such a theory

of entitlement is effectively boundless.

       Even setting aside the problems with the Commission’s legal arguments, it is precisely the

“low bar” to enforcement, SEC Memo 10, that amici find so troubling. Its theory of entitlement

to client confidential information is predicated solely on the validity of the subpoena itself. In

particular, the SEC appears to be looking for information about whether Respondent’s clients

appropriately disclosed the incident. And this would not be the first time the SEC has investigated

the victims of a cyberattack. See In the Matter of Certain Cybersecurity-Related Events, HO-

14225 (investigating victims of Solar-Winds cyberattack to see whether they adequately disclosed

the incident).3 But that only confirms the problems with the Commission’s demand—it seeks to




       3
        https://www.sec.gov/enforce/certain-cybersecurity-related-events-faqs (last modified
Nov. 30, 2022).



                                                7
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 12 of 31




compel a law firm to act as a witness against its own clients to determine whether a securities law

violation occurred.

       Nor is that all the SEC seeks. The SEC’s subpoena seeks to further that inquiry by

requesting strictly privileged “[c]ommunications provided to the client” relating to the breach.

Dkt. 1-2 at 17-18. And the SEC does so without pointing to specific evidence or information

suggesting that Respondent’s clients have traded on material non-public information as a result of

the cyberattack. The SEC’s suggestion that it needs confidential client information to determine

whether the Hafnium threat actors traded on material nonpublic information, SEC Memo 8, is

unpersuasive, unsupported by facts, and contradicts the government’s own intelligence

assessments. The SEC already has other, far less intrusive methods for detecting possible insider

trading. See, e.g., Daniel M. Hawke, SEC Data in Insider Trading Investigations, CORPORATE

COUNSEL (Aug. 1, 2019).4 And in any event, the White House has concluded with a “high degree

of confidence” that the campaign of incidents that the SEC is investigating was conducted by

Chinese state actors for espionage purposes. Press Release, The White House, The United States,

Joined by Allies and Partners, Attributes Malicious Cyber Activity and Irresponsible State

Behavior to the People’s Republic of China (July 19, 2021).5

       Given the vital interests at stake, the SEC should have to make a significant showing that

its request is based on more than mere speculation, or that it has exhausted other means of obtaining

the same information before even attempting to compel attorneys to breach client confidentiality.




       4
         https://www.arnoldporter.com/-/media/files/perspectives/publications/2019/08/sec-data-
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       5
          https://www.whitehouse.gov/briefing-room/statements-releases/2021/07/19/the-united-
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                                                 8
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 13 of 31




While protection for client identities may not be absolute, if “the entry of any [legal] order

eclipse[d] a lawyer’s ethical obligations” not to disclose client confidences, the rule “would have

no meaning at all.” Evolution AB (publ.) v. Marra, No. A-3341-21, 2023 WL 350576, at *3 (N.J.

Super. Ct. App. Div. 2023). There might be some special situations in which an agency could

validly seek client identities, but by its own account the SEC is merely acting out of “official

curiosity” without evidence of wrongdoing. Dkt. 1-2, SEC Ex. C, at 3 (quoting United States v.

Morton Salt Co., 338 U.S. 632, 652 (1950)).

       Adopting the SEC’s approach could invite similarly speculative requests by any

government agency in virtually any speculative investigation, regardless of whether the

investigating agency had any indication of wrongdoing by a law firm or its clients. Amici handle

many thousands of matters each year that, under the Commission’s theory, could trigger agency

demands for client secrets. Allowing any agency to compel disclosure in such situations without

evidence of wrongdoing would be a dramatic overreach.

III.   Compelling Disclosure Of Client Identities Punishes Innocent Clients, Burdens
       Attorneys, And Undermines Cooperation With Law Enforcement

       Granting the application here would not only contravene basic tenets of confidentiality, but

also ultimately punishes the victims of a Chinese state-sponsored cyberattack. The Microsoft

Hafnium cyberattack was perpetrated by a “a foreign actor,” SEC Memo 2, not Respondent or its

clients. Just as amici would have done, Respondent fully “cooperated with FBI officials who

determined that the attack was sponsored by Chinese authorities targeting information relating to

the incoming Biden administration.” Justin Henry, Attorney-Client Confidentiality at Stake in

Covington’s Dispute With SEC? White-Collar Lawyers Weigh In, THE AMERICAN LAWYER (Jan.




                                                9
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 14 of 31




13, 2023).6 Yet the requested compelled disclosure would harshly penalize blameless clients, back

attorneys into a corner, and discourage law firms like amici from cooperating with law

enforcement in the future.

       Such a cavalier approach to client confidences puts both clients and attorneys in an

untenable position. For all the reasons explained above, Respondent’s clients, who were innocent

victims of the underlying cyberattack, would face the unfair consequences that accompany

disclosure of representation. See supra at 3-6. But the onerous burden disclosure would also put

on attorneys in Respondent’s situation is just as problematic.

       When a law firm is hacked, it must take a number of steps, all of which require a complex

assessment of client interests and legal obligations. First, it must assess what outside experts or

law enforcement agencies to contact to help it determine the extent of the breach, what was

accessed, and notify affected clients. And at each of these steps, a law firm faces additional

complex decisions, including whether law enforcement can help with understanding the scope of

the breach or whether the threat remains ongoing. Second, it must determine whether further

cooperation with law enforcement is permissible or desirable. And third, in the event of a

subpoena, it must decide whether it is permissible or desirable to comply. At every stage, attorneys

must analyze the ethical, fiduciary, and confidentiality implications to their clients, as well as their

own legal obligations and responsibilities as good citizens. Each step in that process is already

fraught with ethical complications as the firm seeks to comply or balance the possible conflict

between its own legal duties to report and its obligations to zealously protect its clients’ interests

even to its own detriment.




       6
         https://www.law.com/americanlawyer/2023/01/13/attorney-client-confidentiality-at-
stake-in-covingtons-dispute-with-sec-white-collar-lawyers-weigh-in/.


                                                  10
        Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 15 of 31




       Permitting the kind of compelled disclosure requested here vastly expands the potential

harm clients may face. And it can fundamentally change the calculus when law firms consider

how to respond to a cyberattack. Faced with the choice between complying with a subpoena and

protecting clients’ secrets, Respondent took the same course of action here that any one of the

undersigned amici firms would have been forced to take: it resisted disclosure to protect its clients.

But underneath that straightforward conclusion lies a tangle of hard decisions. And the SEC’s

approach would all too often leave attorneys with the choice of harming themselves or harming

their clients. They could either fulfill their ethical obligations to their clients, while accepting the

legal sanctions that might follow their refusal to honor a subpoena. Or they could comply with the

legal order, but face bar discipline, possibly even disbarment, for revealing their clients’ secrets.

Either outcome imposes a significant and unfair burden on attorneys.

       While differing circumstances might alter a firm’s response to a subpoena for client

information, an overly aggressive approach to compelling disclosure of client identities could force

more firms into a defensive crouch, making them more reluctant to cooperate with government

investigations and more likely to resort to litigation in resisting disclosure. Those firms that decide

not to report hacks would be denied all the benefits, services, and sophisticated cybersecurity tools

that are available only through government cooperation. And while amici, like Respondent, have

the resources to litigate subpoena disputes, other attorneys may not, and might be forced to comply,

thus overriding their ethical obligations and fiduciary duties. Resisting an agency subpoena is a

costly and time-consuming process, and smaller firms or solo practitioners might feel

overwhelming pressure to simply disclose even if doing so harmed their clients.

       Finally, enforcement of the SEC’s subpoena runs counter to the government’s broader

cybersecurity efforts, which encourage cooperation. Since at least 2009, the FBI, Secret Service,




                                                  11
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 16 of 31




and other law enforcement agencies have conducted significant outreach to law firms to gain their

trust and attention in addressing cybersecurity threats. Karen Painter Randall & Steven A. Kroll,

Getting Serious about Law Firm Cybersecurity, NEW JERSEY LAWYER (June 2016).7                 Law

enforcement agencies have increasingly recognized the investigative benefits of partnering with

private sector victims and have devoted significant resources to working with the private sector to

protect vital national assets such as corporate trade secrets from economic espionage and other

cyber threats. See Aruna Viswanatha, FBI’s Christopher Wray Wants Business to Help Fight

China, Cyber Threats, WALL ST. J. (Feb. 9, 2023).8 Deputy Attorney General Lisa Monaco

recently emphasized “[o]ne of the most important steps in disrupting malicious cyber activity is to

increase the reporting of cybercrimes by private sector victims,” and pledged to companies who

cooperate with law enforcement, the Department will “stand with them in the aftermath of an

incident.”   Deputy Attorney General Lisa O. Monaco, Keynote Address at International

Conference on Cyber Security (July 19, 2022).9 And FBI Director Christopher Wray publicly

committed to “treat victim companies as victims.” FBI Director Christopher Wray, Digital

Transformation: Using Innovation to Combat the Cyber Threat (March 7, 2018).10 These efforts

begin to ring hollow when other government agencies seek to compel the disclosure of client




       7
        https://sc.edu/study/colleges_schools/law/centers/cybersecurity/_docs/getting_serious_a
bout_law_firm_cybersecurity.pdf.
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                                                12
          Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 17 of 31




confidences after law firms have voluntarily disclosed cyberattacks and collaborated with law

enforcement, even when not otherwise required by law.

                                       CONCLUSION

          The SEC’s application for an order enforcing the subpoena to Respondent should be

denied.



                                                   Respectfully submitted,


 /s/ Kevin J. Orsini                            /s/ Brian R. Matsui
 KEVIN J. ORSINI                                BRIAN R. MATSUI (DC Bar No. 491339)
 CRAVATH, SWAINE & MOORE LLP                    ADAM L. SORENSEN (DC Bar No. 1685695)
 825 8th Ave                                    MORRISON & FOERSTER LLP
 New York, NY 10019                             2100 L Street NW, Suite 900
 Tel: (212) 474-1596                            Washington, DC 20037
                                                Tel: (202) 887-8784
 Counsel for Cravath, Swaine & Moore LLP        BMatsui@mofo.com

 /s/ Erez Liebermann                            DOUGLAS L. HENDRICKS
 EREZ LIEBERMANN                                MORRISON & FOERSTER LLP
 DEBEVOISE & PLIMPTON LLP                       425 Market Street
 66 Hudson Boulevard                            San Francisco, CA 94105
 New York, NY 10001                             Tel: (415) 268-7037
 Tel: (212) 909-6224
                                                Counsel for Morrison & Foerster LLP
 Counsel for Debevoise & Plimpton LLP
                                                /s/ Jeffrey S. Powell
 /s/ Alice S. Fisher                            JEFFREY S. POWELL
 ALICE S. FISHER (D.C. Bar No. 437492)          KIRKLAND & ELLIS LLP
 LATHAM & WATKINS LLP                           1301 Pennsylvania Avenue NW
 555 Eleventh Street, NW, Suite 1000            Washington, DC 20004
 Washington, DC 20004                           Tel: (202) 389-5050
 Tel.: (202) 637-2232
                                                Counsel for Kirkland & Ellis LLP
 Counsel for Latham & Watkins LLP




                                              13
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 18 of 31




/s/ Martin Stern                               /s/ Joel Bertocchi
MARTIN STERN (DC Bar No. 434330)               JOEL BERTOCCHI
ADAMS AND REESE LLP                            AKERMAN LLP
701 Poydras Street, Suite 4500                 71 South Wacker Drive, 47th Floor
New Orleans, LA 70139                          Chicago, IL 60606
Tel: (504) 585-0289                            Tel: (312) 634-5700

Counsel for Adams and Reese LLP                Counsel for Akerman LLP

/s/ John C. Massaro                            /s/ Mike Glazer
JOHN C. MASSARO (DC Bar. 441194)               MIKE GLAZER
ARNOLD & PORTER KAYE SCHOLER LLP               AUSLEY & MCMULLEN
601 Massachusetts Ave., NW                     123 South Calhoun Street
Washington, DC 20001                           Tallahassee, FL 32301
Tel: (202) 942 5122                            Tel: (850) 425‑5474

Counsel for Arnold & Porter Kaye Scholer LLP   Counsel for Ausley & McMullen LLP

/s/ Julia Guttman                              /s/ Sam Berry Blair
JULIA GUTTMAN (DC Bar No. 412912)              SAM BERRY BLAIR
BAKER BOTTS LLP                                BAKER DONELSON BEARMAN CALDWELL
700 K Street, NW                               & BERKOWITZ, PC
Washington, DC 20001                           165 Madison Ave. Suite #2000
Tel: (202) 639-7706                            Memphis, TN 38103
                                               Tel.: (901) 577-2257
Counsel for Baker Botts LLP
                                               /s/ John S. Hicks
/s/ Peter J. Engstrom                          JOHN S. HICKS
PETER J. ENGSTROM                              BAKER DONELSON BEARMAN CALDWELL
BAKER & MCKENZIE LLP                           & BERKOWITZ, PC
Two Embarcadero Center, 11th Floor             1600 West End Avenue, Suite 2000
San Francisco, CA 94111                        Nashville, TN 37203
Tel: (415) 576-3025                            Tel.: (615) 726-5600

Counsel for Baker & McKenzie LLP               Counsel for Baker Donelson Bearman
                                               Caldwell & Berkowitz, PC
/s/ William Slaughter
                                               /s/ Dave Boyd
WILLIAM SLAUGHTER
                                               DAVE BOYD
BALLARD SPAHR
                                               BALCH & BINGHAM
1735 Market Street, 51st Floor
                                               1901 Sixth Avenue North, Suite 1500
Philadelphia, PA 19103
                                               Birmingham, AL 35203
Tel: (215) 864-8114
                                               Tel: (205) 226-3485
Counsel for Ballard Spahr LLP                  Counsel for Balch & Bingham LLP


                                          14
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 19 of 31




/s/ Joel S. Miliband                               /s/ David S. Roth
JOEL S. MILIBAND                                   DAVID S. ROTH
BROWN RUDNICK LLP                                  BRADLEY ARANT BOULT CUMMINGS LLP
2211 Michelson Drive, Seventh Floor                One Federal Place
Irvine, CA 92612                                   1819 Fifth Avenue North
Tel: (949) 752-7100                                Birmingham, AL 35203
                                                   Tel.: (205) 521-8428
Counsel for Brown Rudnick LLP
                                                   Counsel for Bradley Arant Boult
/s/ David Kitner                                   Cummings LLP
DAVID KITNER
JADD MASSO                                         /s/ James P. Wehner
CLARK HILL, P.C.                                   JAMES P. WEHNER (DC Bar No. 454823)
901 Main Street                                    CAPLIN & DRYSDALE
Dallas, Texas 75202                                One Thomas Circle, NW, Suite 1100
Tel: (214) 651-4618                                Washington, DC 20005
                                                   Tel: (202) 862-5000
Counsel for Clark Hill, P.C.
                                                   Counsel for Caplin & Drysdale LLP
/s/ H. Robert Fiebach
H. ROBERT FIEBACH                                  /s/ John R. Gerstein
COZEN O’CONNOR                                     JOHN R. GERSTEIN (DC Bar No. 913228)
One Liberty Place, 1650 Market Street Suite 2800   CLYDE & CO US LLP
Philadelphia, PA 19103                             1775 Pennsylvania Avenue NW
Tel.: (215) 665-4166                               Suite 400
                                                   Washington, DC 20006
Counsel for Cozen O’Connor                         Tel: (202) 747-5101

/s/ Benjamin E. Rosenberg                          Counsel for Clyde & Co US LLP
BENJAMIN E. ROSENBERG
DECHERT LLP                                        /s/ Timila S. Rother
1095 Avenue of the Americas                        TIMILA S. ROTHER
New York, NY 10036                                 CROWE & DUNLEVY, P.C.
Tel.: (212) 698-3622                               Braniff Building
                                                   324 N. Robinson Avenue, Suite 100
Counsel for Dechert LLP                            Oklahoma City, OK 73102
                                                   Tel.: (405) 235-7757

                                                   Counsel for Crowe & Dunlevy, P.C.




                                            15
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 20 of 31




/s/ Elisha King                              /s/ Edward J. Reich
ELISHA KING (DC Bar No. 482026)              EDWARD J. REICH
DLA PIPER LLP (US)                           DENTONS US LLP
500 8th Street NW                            1221 Avenue of the Americas
Washington, DC 20004                         New York, NY 10020
Tel.: (202) 799-4254                         Tel: (212) 768-6989

Counsel for DLA Piper LLP (US)               Counsel for Dentons US LLP

/s/ Michael Silverman                        /s/ Peter M. Lancaster
MICHAEL SILVERMAN                            PETER M. LANCASTER
DUANE MORRIS                                 DORSEY & WHITNEY LLP
190 South LaSalle Street, Suite 3700         50 South Sixth Street, Suite 1500
Chicago, IL 60603                            Minneapolis, MN 55402
Tel: (312) 499-6707                          Tel.: (612) 340-7811

Counsel for Duane Morris LLP                 Counsel for Dorsey & Whitney LLP

/s/ Kathryn J. Fritz                         /s/ Brian Moore
KATHRYN J. FRITZ, ESQ.                       BRIAN MOORE
FENWICK & WEST LLP                           DYKEMA GOSSETT PLLC
555 California Street, 12th Floor            39577 Woodward Avenue, Suite 300
San Francisco, CA 94104                      Bloomfield Hills, MI 48306
Tel: (415) 875-2300                          Tel: (248) 203-0772

Counsel for Fenwick & West LLP               Counsel for Dykema Gossett PLLC

/s/ Ron Minkoff                              /s/ Roger D. Feldman
RON MINKOFF                                  ROGER D. FELDMAN
FRANKFURT KURNIT P.C.                        FISH & RICHARDSON P.C.
28 Liberty Street                            One Marina Park Drive
New York, NY 10005                           Boston, MA 02210
Tel: (212) 705-4837                          Tel.: (617) 956-5924

Counsel for Frankfurt Kurnit P.C.            Counsel for Fish & Richardson P.C.

/s/ William R. Hanlon                        /s/ Frederic Klein
WILLIAM R. HANLON (DC Bar No. 351213)        FREDERIC KLEIN
GOODWIN PROCTER LLP                          GOLDBERG KOHN LLP
1900 N Street, NW                            55 East Monroe Street, Suite 3300
Washington, DC 20036                         Chicago, IL 60603
Tel: (202) 346-4239                          Tel: (312) 201-3908

Counsel for Goodwin Procter LLP              Counsel for Goldberg Kohn LLP


                                        16
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 21 of 31




/s/ Alan Naar                               /s/ Richard Rosensweig
ALAN NAAR                                   RICHARD ROSENSWEIG
GREENBAUM, ROWE, SMITH & DAVIS LLP          GOULSTON & STORRS PC
P.O. Box 5600                               400 Atlantic Avenue
Woodbridge, NJ 07095                        Boston, MA 02110
Tel: (732) 476-2530                         Tel: (617) 574-3588

Counsel for Greenbaum, Rowe, Smith          Counsel for Goulston & Storrs PC
& Davis LLP
                                            /s/ Dave Utykanski
/s/ Stacy Brainin                           DAVE UTYKANSKI
STACY BRAININ                               HARNESS, DICKEY, & PIERCE LLP
HAYNES AND BOONE LLP                        5445 Corporate Dr., Suite 200
2323 Victory Avenue, Suite 700              Troy, MI 48098
Dallas, TX 75219                            Tel: (248) 641-1600
Tel: (214) 651-5584
                                            Counsel for Harness, Dickey, & Pierce
                                            LLP
Counsel for Haynes and Boone LLP
                                            /s/ Brett Preston
/s/ Margaret Hedges
                                            BRETT PRESTON
MARGARET HEDGES (DC Bar No. 467379)
                                            HILL WARD LLP
HOGAN LOVELLS US LLP
                                            101 E. Kennedy Blvd., Suite 3700
555 Thirteenth Street NW
                                            Tampa, FL 33602
Washington, DC 20004
                                            Tel: (813) 221-3900
Tel: (202) 637-5600
                                            Counsel for Hill Ward LLP
Counsel for Hogan Lovells US LLP
                                            /s/ Mark Stern
/s/ Greg Waller
                                            MARK STERN
GREG WALLER
                                            HONIGMAN LLP
HUNTON ANDREWS KURTH LLP
                                            2290 First National Building
600 Travis Street, Suite 4200
                                            660 Woodward Avenue
Houston, TX 77002
                                            Detroit, MI 48226
Tel.: (713) 220-4790
                                            Tel: (313) 465-7568
Counsel for Hunton Andrews Kurth LLP
                                            Counsel for Honigman LLP




                                       17
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 22 of 31




/s/ Kevyn D. Orr                                 /s/ Robert R. Stauffer
KEVYN D. ORR (DC Bar No. 384208)                 ROBERT R. STAUFFER
JONES DAY                                        JENNER & BLOCK LLP
51 Louisiana Avenue, NW                          353 N. Clark Street
Washington, DC 20001                             Chicago, IL 60654
Tel. (202) 879-5560                              Tel: (312) 923-2905

Counsel for Jones Day                            Counsel for Jenner & Block LLP

/s/ Dana Rosenfeld                               /s/ Jan Nielsen Little
DANA ROSENFELD (DC Bar No. 416514)               JAN NIELSEN LITTLE
KELLEY DRYE & WARREN LLP                         STEVEN RAGLAND
Washington Harbour                               KEKER, VAN NEST & PETERS LLP
3050 K Street NW, Suite 400                      633 Battery Street
Washington, DC 20007                             San Francisco, CA 94111
Tel.: (202) 342-8588                             Tel: (415) 391-5400

Counsel for Kelley Drye & Warren LLP             Counsel for Keker, Van Nest & Peters
                                                 LLP
/s/ M. Robert Thornton
M. ROBERT THORNTON                               /s/ Susan M. Spaeth
KING & SPALDING LLP                              SUSAN M. SPAETH (DC Bar No. 431407)
1180 Peachtree Street NE, Suite 1600             KILPATRICK TOWNSEND & STOCKTON
Atlanta, GA 30309                                LLP
Tel.: (404) 572-4778                             1302 El Camino Real, Suite 175
                                                 Menlo Park, CA 94025
Counsel for King & Spalding LLP                  Tel: (650) 324-6335

/s/ Lawrence A. Kasten                           Counsel for Kilpatrick Townsend &
LAWRENCE A. KASTEN                               Stockton LLP
LEWIS ROCA ROTHGERBER CHRISTIE LLP
201 E. Washington Street, Suite 1200             /s/ Jeffrey B. Maletta
Phoenix, AZ 85004                                JEFFREY B. MALETTA (DC Bar No.
Tel: (602) 262-0228                              294009)
                                                 K&L GATES LLP
Counsel for Lewis Roca Rothgerber Christie LLP   1601 K Street, NW
                                                 Washington, DC 20006
                                                 Tel: (202) 778-9062

                                                 Counsel for K&L Gates LLP




                                           18
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 23 of 31




/s/ David M. Wissert                           /s/ W. Allan Edmiston
DAVID M. WISSERT                               W. ALLAN EDMISTON
LOWENSTEIN SANDLER LLP                         LOEB & LOEB LLP
1251 Avenue of the Americas                    10100 Santa Monica Blvd., Suite 2200
New York, NY 10020                             Los Angeles, CA 90067
Tel. (646) 414-6912                            Tel.: (310) 282-2241

Counsel for Lowenstein Sandler LLP             Counsel for Loeb & Loeb LLP

/s/ Jim DeAngelo                               /s/ Malaika Eaton
JIM DEANGELO                                   MALAIKA EATON
MCNEES WALLACE & NURICK LLC                    MCNAUL EBEL PLLC
100 Pine Street                                600 University Street, Suite 2700
Harrisburg, PA 17101                           Seattle, WA 98101
Tel: (717) 237-5470                            Tel: (206) 467-1816

Counsel for McNees Wallace & Nurick LLC        Counsel for McNaul Ebel PLLC

/s/ Neil J Wertlieb                            /s/ Brent E. Routman
NEIL J WERTLIEB (DC Bar No. 985308)            BRENT E. ROUTMAN
MILBANK LLP                                    MERCHANT & GOULD P.C.
2029 Century Park East, 33rd Floor             150 South Fifth Street, Suite 2200
Los Angeles, CA 90067                          Minneapolis, MN 5540
Tel: (424) 386-4410                            Tel: (612) 336-4619

Counsel for Milbank LLP                        Counsel for Merchant & Gould P.C.

/s/ Martin S. Checov                           /s/ Nelson Apjohn
MARTIN S. CHECOV                               NELSON APJOHN
O’MELVENY & MYERS LLP                          NUTTER MCCLENNEN & FISH LLP
Two Embarcadero Center                         Seaport West, 155 Seaport Boulevard
28th Floor                                     Boston, MA 02210
San Francisco, CA 94111                        Tel: (617) 439-2246
Tel: (415) 984-8713
                                               Counsel for Nutter McClennen & Fish
Counsel for O’Melveny & Myers LLP              LLP




                                          19
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 24 of 31




/s/ Mark Pollack                                   /s/ Frederick B. Warder III
MARK POLLACK                                       FREDERICK B. WARDER III
PAUL HASTINGS LLP                                  (DC BAR NO. 434349)
71 S. Wacker Drive, Forty-Fifth Floor              PATTERSON BELKNAP WEBB & TYLER
Chicago, IL 60606                                  LLP
Tel.: (312) 499-6050                               1133 Avenue of the Americas
                                                   New York, NY 10036
Counsel for Paul Hastings LLP                      Tel: (212) 336-2000

/s/ Bates McIntyre Larson                          Counsel for Patterson Belknap Webb &
BATES MCINTYRE LARSON                              Tyler LLP
PERKINS COIE LLP
110 N. Wacker Drive, Suite 3400                    /s/ Bruce Birenboim
Chicago, IL 60606                                  BRUCE BIRENBOIM, ESQ.
Tel.: (312) 324-8640                               PAUL, WEISS, RIFKIND, WHARTON &
                                                   GARRISON LLP
Counsel for Perkins Coie LLP                       1285 Avenue of the Americas
                                                   New York, NY 10019
/s/ Matthew MacLean                                Tel.: (212) 373-3165
MATTHEW MACLEAN (D.C. Bar No. 479257)
PILLSBURY WINTHROP SHAW PITTMAN LLP                Counsel for Paul, Weiss, Rifkind,
1200 Seventeenth Street, N.W.                      Wharton & Garrison LLP
Washington, DC 20036
Tel.: (202) 663-8000                               /s/ Jennifer Gimler Brady
                                                   JENNIFER GIMLER BRADY
/s/ David Oliwenstein                              POTTER ANDERSON & CORROON LLP
DAVID OLIWENSTEIN                                  Hercules Plaza
PILLSBURY WINTHROP SHAW PITTMAN LLP                1313 North Market Street, 6th Floor
31 West 52nd Street                                P.O. Box 951
New York, NY 10019-6131                            Wilmington, DE 19801
Tel.: (212) 858-1000                               Tel.: (302) 984-6042

Counsel for Pillsbury Winthrop Shaw Pittman        Counsel for Potter Anderson & Corroon
LLP                                                LLP




                                              20
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 25 of 31




/s/ Bradford Babbit                               /s/ Keith Whitson
BRADFORD BABBIT                                   KEITH WHITSON
ROBINSON & COLE LLP                               SCHNADER HARRISON SEGAL & LEWIS
280 Trumbull Street                               LLP
Hartford, CT 06103                                120 Fifth Avenue, Suite 2700
Tel: (860) 275-8209                               Pittsburgh, PA 15222
                                                  Tel: (412) 577-5200
Counsel for Robinson & Cole LLP
                                                  Counsel for Schnader Harrison Segal &
/s/ Harry S. Davis                                Lewis LLP
HARRY S. DAVIS
SCHULTE ROTH & ZABEL LLP                          /s/ Lori L. Roeser
919 Third Avenue                                  LORI L. ROESER
New York, NY 10022                                SEYFARTH SHAW LLP
Tel: (212) 756-2222                               233 S. Wacker Drive, Suite 8000
                                                  Chicago, IL 60606
Counsel for Schulte Roth & Zabel LLP              Tel: (312) 460-5258

/s/ Mark D. Lanpher                               Counsel for Seyfarth Shaw LLP
MARK D. LANPHER (DC Bar No. 1014490)
SHEARMAN & STERLING LLP                           /s/ Gene Voigts
401 9th Street, NW                                GENE VOIGTS
Washington, DC 20004                              SHOOK, HARDY & BACON LLP
Tel.: (202) 508-8120                              2555 Grand Boulevard
                                                  Kansas City, MO 64108
Counsel for Shearman & Sterling LLP               Tel: (816) 474-6550

/s/ Jonathan Cohen                                Counsel for Shook, Hardy & Bacon LLP
JONATHAN COHEN
SHUTTS & BOWEN LLP                                /s/ Lawrence S. Spiegel
200 South Biscayne Blvd. Ste. 4100                LAWRENCE S. SPIEGEL
Miami, FL 33131                                   SKADDEN, ARPS, SLATE, MEAGHER &
Tel: (305) 379-9193                               FLOM LLP
                                                  One Manhattan West
Counsel for Shutts & Bowen LLP                    New York, NY 10001-8602
                                                  Tel.: (212) 735-4155
/s/ Edward H. Wasmuth, Jr.
EDWARD H. WASMUTH, JR.                            Counsel for Skadden, Arps, Slate,
SMITH, GAMBRELL & RUSSELL, LLP                    Meagher & Flom LLP
1105 W. Peachtree St., NE, Suite 1000
Atlanta, GA 30309
Tel: (404) 815-3500

Counsel for Smith, Gambrell & Russell, LLP


                                             21
      Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 26 of 31




/s/ Andy Lester                                     /s/ Matthew Feeney
ANDY LESTER                                         MATTHEW FEENEY
SPENCER FANE LLP                                    SNELL & WILMER LLP
9400 Broadway Extension Suite 600                   One East Washington Street
Oklahoma City, OK 73114                             Phoenix, AZ 85004
Tel: (405) 844-9900                                 Tel: (602) 382-6239

Counsel for Spencer Fane LLP                        Counsel for Snell & Wilmer LLP

/s/ Bradley Tellam                                  /s/ Stacy D. Ballin
BRADLEY TELLAM                                      STACY D. BALLIN
STOEL RIVES LLP                                     SQUIRE PATTON BOGGS (US) LLP
760 SW Ninth Ave, Suite 3000                        1000 Key Tower, 127 Public Square
Portland, OR 97205                                  Cleveland, OH 44114
Tel: (503) 294-9414                                 Tel.: (216) 479-8523

Counsel for Stoel Rives LLP                         Counsel for Squire Patton Boggs (US)
                                                    LLP
/s/ John C. Wander
JOHN C. WANDER                                      /s/ Thomas Feher
VINSON & ELKINS LLP                                 THOMAS FEHER (DC Bar No. 985161)
2001 Ross Avenue, Suite 3900                        THOMPSON HINE LLP
Dallas, TX 75201                                    3900 Key Center
Tel: (214) 220-7878                                 127 Public Square
                                                    Cleveland, OH 44114
Counsel for Vinson & Elkins LLP                     Tel: (216) 566-5532

/s/ Bob Webner                                      Counsel for Thompson Hine LLP
BOB WEBNER
VORYS, SATER, SEYMOUR & PEASE, LLP                  /s/ David Jargiello
52 East Gay Street                                  DAVID JARGIELLO
Columbus, OH 43215                                  VLP LAW GROUP
Tel: (614) 464-8243                                 635 Bryant Street, Suite #6
                                                    Palo Alto, CA 94301
Counsel for Vorys, Sater, Seymour and Pease,        Tel: (650) 472-3994
LLP
                                                    Counsel for VLP Law Group




                                               22
     Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 27 of 31




/s/ Margaret A. Keeley                        /s/ Brendan Begley
MARGARET A. KEELEY (DC Bar No. 454962)        BRENDAN BEGLEY
WILLIAMS & CONNOLLY LLP                       JAMES KACHMAR
600 Maine Avenue SW                           WEINTRAUB TOBIN LLP
Washington, DC 20024                          400 Capitol Mall 11th Floor
Tel. (202) 434-5137                           Sacramento, CA 95818
                                              Tel: (916) 558-6000
Counsel for Williams & Connolly LLP
                                              Counsel for Weintraub Tobin LLP
/s/ David Rogers
DAVID ROGERS (D.C. Bar No. 435269)            /s/ Michael J Gottlieb
WINSTON & STRAWN LLP                          MICHAEL J GOTTLIEB (DC Bar No.
1901 L Street, N.W.                           974960)
Washington, DC 20036                          WILLKIE FARR & GALLAGHER LLP
Tel.: (202) 282-5885                          1875 K Street NW
                                              Washington, DC 20006
Counsel for Winston & Strawn LLP              Tel.: (202) 303-1442

                                              Counsel for Willkie Farr & Gallagher
                                              LLP




                                         23
Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 28 of 31




                APPENDIX: LIST OF AMICI CURIAE

1.    Morrison & Foerster LLP
2.    Cravath, Swaine & Moore LLP
3.    Debevoise & Plimpton LLP
4.    Kirkland & Ellis LLP
5.    Latham and Watkins LLP
6.    Adams and Reese LLP
7.    Akerman LLP
8.    Arnold & Porter Kaye Scholer LLP
9.    Ausley & McMullen
10.   Baker Botts LLP
11.   Baker Donelson Bearman Caldwell & Berkowitz, PC
12.   Baker & McKenzie LLP
13.   Balch & Bingham LLP
14.   Ballard Spahr LLP
15.   Bradley Arant Boult Cummings LLP
16.   Brown Rudnick LLP
17.   Caplin & Drysdale LLP
18.   Clark Hill P.C.
19.   Clyde & Co US LLP
20.   Cozen O’Connor
21.   Crowe & Dunlevy, P.C.
22.   Dechert LLP
23.   Dentons US LLP
24.   DLA Piper LLP (US)
25.   Dorsey & Whitney LLP
26.   Duane Morris LLP
27.   Dykema Gossett PLLC
28.   Fenwick & West LLP
29.   Fish & Richardson P.C.
30.   Frankfurt Kurnit P.C.
31.   Goldberg Kohn LLP
32.   Goodwin Procter LLP
33.   Goulston & Storrs PC
34.   Greenbaum, Rowe, Smith, & Davis LLP
35.   Harness, Dickey, & Pierce LLP
36.   Haynes and Boone LLP
37.   Hill Ward LLP
38.   Hogan Lovells US LLP
39.   Honigman LLP
40.   Hunton Andrews Kurth LLP
41.   Jenner & Block LLP
42.   Jones Day
43.   Keker, Van Nest & Peters LLP
44.   Kelley Drye & Warren LLP
45.   Kilpatrick Townsend & Stockton LLP


                                 A-1
Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 29 of 31




46.   King & Spalding LLP
47.   K&L Gates LLP
48.   Lewis Roca LLP
49.   Loeb & Loeb LLP
50.   Lowenstein Sandler LLP
51.   McNaul Ebel PLLC
52.   McNees Wallace & Nurick LLC
53.   Merchant & Gould P.C.
54.   Milbank LLP
55.   Nutter McClennen & Fish LLP
56.   O’Melveny & Myers LLP
57.   Patterson Belknap LLP
58.   Paul Hastings LLP
59.   Paul, Weiss, Rifkind, Wharton & Garrison LLP
60.   Perkins Coie LLP
61.   Pillsbury Winthrop Shaw Pittman LLP
62.   Potter Anderson & Corroon LLP
63.   Robinson & Cole LLP
64.   Schnader Harrison Segal & Lewis LLP
65.   Schulte Roth & Zabel LLP
66.   Seyfarth Shaw LLP
67.   Shearman & Sterling LLP
68.   Shook, Hardy & Bacon LLP
69.   Shutts & Bowen LLP
70.   Skadden, Arps, Slate, Meagher & Flom LLP
71.   Smith Gambrell LLP
72.   Snell & Wilmer LLP
73.   Spencer Fane LLP
74.   Squire Patton Boggs (US) LLP
75.   Stoel Rives LLP
76.   Thompson Hine LLP
77.   Vinson & Elkins LLP
78.   VLP Law Group LLP
79.   Vorys, Sater, Seymour and Pease LLP
80.   Weintraub Tobin LLP
81.   Williams & Connolly LLP
82.   Willkie Farr & Gallagher LLP
83.   Winston & Strawn LLP




                                   A-2
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 30 of 31




                            CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limitation of Local Rule 7(o)(4) because it does

not exceed 25 pages.

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brief has been prepared in a proportionally-spaced typeface using the Microsoft Office Word

2022 Word processing software in a 12-point Times New Roman type style.



Dated: February 21, 2023

                                                /s/ Brian R. Matsui
                                                BRIAN R. MATSUI (DC Bar No. 491339)
                                                MORRISON & FOERSTER LLP
                                                2100 L Street NW, Suite 900
                                                Washington, DC 20037
                                                Tel: (202) 887-8784
                                                BMatsui@mofo.com
       Case 1:23-mc-00002-APM Document 17 Filed 02/21/23 Page 31 of 31




                                   CERTIFICATE OF SERVICE

       I hereby certify that on February 21, 2023, I filed this Brief with the United States

District Court for the District of Columbia using the CM/ECF system, which will cause it to be

served on all counsel of record.



Dated: February 21, 2023                     Respectfully submitted,



                                                  /s/ Brian R. Matsui
                                                  BRIAN R. MATSUI (DC Bar No. 491339)
                                                  MORRISON & FOERSTER LLP
                                                  2100 L Street NW, Suite 900
                                                  Washington, DC 20037
                                                  Tel: (202) 887-8784
                                                  BMatsui@mofo.com
